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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION


 TAYLOR LOHMEYER LAW FIRM PLLC          )
                                        )                 Case No. 5:18-cv-01161-XR
 Petitioner,                            )
                                        )
 v.                                     )
                                        )
 UNITED STATES OF AMERICA               )
                                        )
 Respondent/Petitioner,                 )
                                        )
 v.                                     )
                                        )
 TAYLOR LOHMEYER LAW FIRM PLLC          )
                                        )
 Respondent.                            )
 _______________________________________)

             UNITED STATES’ UNOPPOSED MOTION TO REOPEN CASE,
              LIFT STAY AND ORDER PRODUCTION OF DOCUMENTS

       The United States moves the Court, pursuant to the Court’s Order of October 3, 2019

[D.E. 25], to reopen these district court proceedings, lift the stay that was entered in this matter,

and set a date for Petitioner’s compliance with the IRS administrative summons at issue. In

support, the United States would show as follows:

       The United States filed suit on October 4, 2018, requesting ex parte leave of the Court to

serve the summons at issue, which is directed to the law firm, Taylor Lohmeyer PLLC (“Taylor

Lohmeyer”). In re Tax Liabilities of John Does, 5:18-mc-1046-XR. The summons commands

production of records of clients who employed the services of Taylor Lohmeyer to create or

maintain foreign bank accounts, and foreign entities. The Court granted the petition on October

15, 2018. Id at D.E. 3. Taylor Lohmeyer filed the instant suit as a Petition to Quash the

summons under 26 U.S.C. § 7609(b) on November 6, 2018 [D.E. 1]. The United States moved
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to dismiss the petition, and counter-petitioned for enforcement of the summons [D.E. 4]. On

May 15, 2019, the Court ordered enforcement of the summons [D.E. 15]. Taylor Lohmeyer filed

a motion for stay, pending appeal [D.E. 19], which was granted on October 3, 2019 [D.E. 25].

The Court further directed the Clerk’s office to close the case [D.E. 25, pg. 4].

        Taylor Lohmeyer appealed the Court’s summons-enforcement order to the Fifth Circuit

[D.E. 17]. The Fifth Circuit affirmed the decision on April 24, 2020 [D.E. 32]. Taylor

Lohmeyer Law Firm PLLC v. United States, 957 F.3d 505 (5th Cir. 2020). The Fifth Circuit

denied Taylor Lohmeyer’s request for rehearing in banc. Taylor Lohmeyer PLLC v. United

States, 982 F.3d 409 (5th Cir. 2020). Taylor Lohmeyer then filed a petition for writ of certiorari

with the United States Supreme Court, which was denied on October 4, 2021. Docket No. 20-

1596.

        To date, Taylor Lohmeyer has not produced any documents in response to the issued

summons.

        On December 3, 2021, undersigned counsel discussed re-opening the case, lifting the

stay, and a date of compliance with counsel for Taylor Lohmeyer. Counsel for Taylor Lohmeyer

is unopposed to re-opening this case, and to lifting the stay. Taylor Lohmeyer is unopposed to a

scheduled production date of January 3, 2022.

        WHEREFORE, the United States respectfully prays that this Court reopen the

proceedings in this matter, lift the stay that was issued, and order production by January 3, 2022.




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                                              Respectfully submitted,

                                              DAVID H. HUBBERT
                                              DEPUTY ASSISTANT ATTORNEY GENERAL
                                              U.S. Department of Justice, Tax Division

                                               /s/ Curtis C. Smith
                                              CURTIS C. SMITH
                                              Trial Attorney, Tax Division
                                              U.S. Department of Justice
                                              717 N. Harwood Street, Suite 400
                                              Dallas, Texas 75201
                                              Telephone: (214) 880-9734
                                              Facsimile: (214) 880-9741
                                              E-mail: curtis.c.smith@usdoj.gov


                             CERTIFICATE OF CONFERENCE

     On December 3, 2021, I spoke telephonically with counsel for Taylor Lohmeyer, who is

unopposed to the relief sought, as set forth above.


                                                            _/s/ Curtis C. Smith_______
                                                            CURTIS C. SMITH




                                CERTIFICATE OF SERVICE

       I certify that the foregoing UNITED STATES’ MOTION TO REOPEN CASE, LIFT

STAY AND ORDER PRODUCTION OF DOCUMENTS was electronically filed on

December 8, 2021, via the Court’s ECF system, which will send notification of such filing to all

counsel of record.


                                                            _/s/ Curtis C. Smith_______
                                                            CURTIS C. SMITH




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